    Case 5:19-cv-00433-AB-SHK Document 44 Filed 11/08/19 Page 1 of 3 Page ID #:1597

                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                          November 08, 2019


       No.:               19-56295
       D.C. No.:          5:19-cv-00433-AB-SHK
       Short Title:       Tabitha Sperring, et al v. LLR, Inc., et al


       Dear Appellant/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.
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                   UNITED STATES COURT OF APPEALS
                                                                   FILED
                           FOR THE NINTH CIRCUIT
                                                                   NOV 08 2019
                                                                  MOLLY C. DWYER, CLERK
                                                                   U.S. COURT OF APPEALS




  TABITHA SPERRING; PAISLIE                    No. 19-56295
  MARCHANT; SALLY POSTON,
  individually and on behalf of similarly
                                               D.C. No. 5:19-cv-00433-AB-SHK
  situated persons,
                                               U.S. District Court for Central
               Plaintiffs - Appellants,        California, Riverside

    v.                                         TIME SCHEDULE ORDER

  LLR, INC., a Wyoming corporation;
  LULAROE, LLC, a California limited
  liability company; LENNON
  LEASING, LLC, a Wyoming limited
  liability company; MARK A.
  STIDHAM, an individual; DEANNE
  BRADY, an individual; DOES, 1-30,
  inclusive,

               Defendants - Appellees.



 The parties shall meet the following time schedule.

  Fri., November 15, 2019      Appellant's Mediation Questionnaire due. If your
                               registration for Appellate CM/ECF is confirmed after
                               this date, the Mediation Questionnaire is due within
                               one day of receiving the email from PACER
                               confirming your registration.
  Thu., January 9, 2020        Appellant's opening brief and excerpts of record
                               shall be served and filed pursuant to FRAP 31 and
                               9th Cir. R. 31-2.1.
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  Mon., February 10, 2020    Appellees' answering brief and excerpts of record
                             shall be served and filed pursuant to FRAP 31 and
                             9th Cir. R. 31-2.1.

 The optional appellant's reply brief shall be filed and served within 21 days of
 service of the appellees' brief, pursuant to FRAP 31 and 9th Cir. R. 31-2.1.

 Failure of the appellant to comply with the Time Schedule Order will result in
 automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                             FOR THE COURT:

                                             MOLLY C. DWYER
                                             CLERK OF COURT

                                             By: Ruben Talavera
                                             Deputy Clerk
                                             Ninth Circuit Rule 27-7
